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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    )
                                            )
      v.                                    )      Case No. 1:21-cr-00729-RBW
                                            )
BRENT JOHN HOLDRIDGE                        )


         DEFENDANT’S MOTION FOR TRANSFER OF VENUE OR,
      IN THE ALTERNATIVE, TO ALLOW EXPANDED EXAMINATION
      OF PROSPECTIVE JURORS BEFORE AND DURING VOIR DIRE

      Defendant Brent John Holdridge, through counsel, moves the Court to transfer

the proceedings to another district because the prejudice against his defense is so

great in this District that an impartial jury cannot be empaneled. This case involves

the highly publicized events at the United States Capitol Building that occurred on

January 6, 2021. A transfer of venue is essential to secure Mr. Holdridge’s

constitutional right to a fair trial, because “so great a prejudice against the defendant

exists in [this District] that the defendant cannot obtain a fair and impartial trial

there.” Fed. R. Crim. P. 21(a).

      If the Court denies Mr. Holdridge’s motion, he respectfully, alternatively

requests that the Court permit an expanded examination of prospective jurors.

Specifically, he requests:

  (1) that the defense be allowed to prepare a questionnaire by July 15, 2022 that,
      after review and approval by the Court, would be distributed to summoned
      prospective jurors to return before trial;
  (2) that the parties be present for any pre-screening questioning of prospective
      jurors that the Court conducts before the beginning of formal voir dire; and
  (3) that the parties be permitted to question jurors individually during voir dire.




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I.     Introduction

       This case involves events that much of the public has strong opinions about,

including opinions about the intentions of persons who entered the Capitol Building

on the charged date. And as this motion describes below, those opinions are especially

strong, and especially prejudicial to Mr. Holdridge, in this District. Those preexisting

views are so widespread in the District’s jury pool that they pose a grave threat to

Mr. Holdridge’s right to a fair trial.

       Although evidence produced by the government shows that Mr. Holdridge

walked slowly around the inside of Capitol Building on January 6, 2021, took

photographs, and engaged in a visibly courteous exchange with a guard, the

Information alleges that he, among other things, “willfully and knowingly engaged in

disorderly and disruptive conduct in any of the Capitol Buildings with the intent to

impede, disrupt, and disturb the orderly conduct of a session of Congress or either

House of Congress.” See Docket 25. The concern here is that a jury will impermissibly

fill in the gaps between Mr. Holdridge’s conduct and the required mental states

alleged in the superseding Information with their own pre-existing experiences with

and media coverage of the events of January 6, 2021.

       Mr. Holdridge has the right to be tried by a jury that will judge him on the

evidence alone, without being tempted to tar him with the same brush as others who

were present at the Capitol Grounds or who shared some of his political views. The

case should be transferred to a different district because the potential for that

temptation among jurors drawn from this District is simply too great. If the Court




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does not transfer the case, then expanded examination of prospective jurors will be

essential to minimize the extent to which a trial would be infected by prejudice

against the defendant.

II.   Transfer to another district is necessary if Mr. Holdridge is to receive
      a fair trial.

      The Fifth Amendment’s Due Process Clause and the Sixth Amendment’s Jury

Trial Clause guarantee Mr. Holdridge the right to a fair trial by an impartial jury.

Skilling v. United States, 561 U.S. 358, 378–79 (2010). Ordinarily, the trial should be

held with “an impartial jury of the State and district wherein the crime shall have

been committed.” U.S. Const. amend. VI. But “if extraordinary local prejudice will

prevent a fair trial—a ‘basic requirement of due process’”—then “[t]he Constitution’s

place-of-trial prescriptions . . . do not impede transfer of the proceeding to a different

district at the defendant’s request,” Skilling, 561 U.S. at 378 (quoting In re

Murchison, 349 U.S. 133, 136 (1955)). In fact, where “so great a prejudice against the

defendant exists in the [venue] district that the defendant cannot obtain a fair and

impartial trial there,” a court “must transfer the proceeding . . . to another district,”

Fed. R. Crim. P. 21(a) (emphasis added).

      This is not an ordinary case. It involves events, and interpretations of events,

which has been subject to a barrage of negative media coverage and public discourse.

And it has not gotten better over time. The House Select Committee started holding

public hearings only a few days ago, which has been widely broadcast during prime




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time and has included graphic videos and dramatic testimony.1 As the Washington

Post summarized, the first day of the hearing “reached a jarring climax in an 11-

minute video montage of violent marauders attacking the temple of that democracy,

sending police officers flailing and lawmakers fleeing as the disembodied voice of a

president played over it.”2 Although the impact of such press coverage is likely felt

everywhere, it will be uniquely felt in Washington D.C. given its size, characteristics,

and the personal impact that the events had on its population.

        There are two types of prejudice – actual and presumed. Actual prejudice is

confirmed through the voir dire process. Skilling, 561 U.S. at 385–95. In contrast,

presumed prejudice cannot be negated by jurors’ voir dire responses. See id. at 379-

80; Rideau v. Louisiana, 373 U.S. 723, 727 (1963) (where the Court found

presumptive prejudice, the Court “d[id] not hesitate to hold, without pausing to

examine a particularized transcript of the voir dire examination of the members of

the jury, that due process of law in this case required a trial before a jury drawn from”

a different community of people).

        The Supreme Court has found presumed prejudice in the extreme cases where

“[the] trial atmosphere [has been] utterly corrupted by press coverage.” Skilling, 561

U.S. at 380-81 (quoting Murphy v. Florida, 421 U.S. 794, 798-799 (1975)). In deciding

whether a presumption is warranted, the Supreme Court has identified three factors




1 Mike DeBonis, Jan. 6 committee uses video, testimony to tell tale of the insurrection (Jun. 10, 2022),
https://www.washingtonpost.com/national-security/2022/06/09/jan-6-committee-uses-video-
testimony-tell-tale-insurrection/.
2 Id.




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for the lower courts to consider3: (1) the size and composition of the community the

jury is drawn from, (2) the pervasiveness and tenor of media coverage, and (3) the

length of time between the relevant events and trial. Id. at 382–83. Each of those

considerations weighs strongly in favor of presumed prejudice in this case.

    A.      The size of D.C. jury pool is unusually small and has been uniquely
            affected by the events of January 6.

         The size and characteristics of this District weigh in favor of presumed

prejudice. The District of Columbia is one of the smallest and geographically compact

federal judicial district. The Census Bureau estimates that D.C.’s total population

was 670,050 on July 1, 2021, with approximately 18.2 percent being under the age of

18, leaving a voting-age population under 550,000.4 Furthermore, D.C.’s entire

population resides in a space of just 68.34 square miles.5 With the Capitol Building

near the geographic center, all of the District’s residents live within 7½ miles of the

site.

         Moreover, although the events of January 6 have been huge news nationally,

they affected D.C. residents much more directly. In the aftermath of the events, D.C.

was transformed: “Businesses were forced to shutter. Streets were closed.

Neighborhood parks where dogs once ran and children played were instead patrolled



3The Court also identified a fourth factor that reviewing courts may consider after-the-fact in
deciding whether prejudice should have been presumed: whether the jury in the contested venue
convicted on fewer than all counts. Skilling, 561 U.S. at 383–84. This factor is inapplicable for a trial
court’s advance determination of presumed prejudice.
4U.S. Census Bureau Quickfacts: District of Columbia, https://www.census.gov/quickfacts/DC (last
visited June 8, 2022).
5U.S. Census Bureau, District of Columbia: 2010 13 (2012),
https://www2.census.gov/library/publications/decennial/2010/cph-2/cph-2-10.pdf#page=33.


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by troops carrying high-powered weapons. Overnight the friendly neighborhood

became a menacing occupation zone.”6 Moreover, the city’s mayor ordered a citywide

curfew and declared a state of emergency for more than two weeks after January 6.7

Thousands of National Guardsmen—ultimately, tens of thousands—“streamed into

the region” in the days after January 6 and leading up to the Inauguration.8

       And the aftershocks of January 6 continue to reverberate. A year after the

events, residents express that the experience has changed them, reporting that they

are “still reliving trauma,” feeling like they are “on pins and needles,” and believing

that “there is a real possibility of more violence.”9 A poll survey further demonstrates

that these are not isolated feelings held by a few residents. According to the survey

prepared at the request of counsel for Thomas Caldwell and Connie Meggs, two

defendants in Case No. 21-cr-028,10 a significantly higher portion of D.C. residents

experienced concern about their own safety or the safety of people important to them,

and additionally felt targeted by the events than residents in three other districts.


6 Joe Heim, As Jan. 6 anniversary approaches, fear, disbelief and anger still felt in Capitol Hill
neighborhood, WashingtonPost.com (Jan. 4, 2022), https://www.washingtonpost.com/dc-md-
va/2022/01/04/capitol-hill-neighborhood-jan6-attack-insurrection/.
7 Mayor Bowser Orders Citywide Curfew Beginning at 6PM Today, DC.gov (Jan. 6, 2021),

https://mayor.dc.gov/release/mayor-bowser-orders-citywide-curfew-beginning-6pm-today; Mayor
Bowser Issues Mayor’s Order Extending Today’s Public Emergency for 15 Days, DC.gov (Jan 6, 2021),
https://mayor.dc.gov/release/mayor-bowser-issues-mayor’s-order-extending-today%E2%80%99s-
public-emergency-15-days-a1.
8Ellen Mitchell, Army: Up to 25,000 National Guard in DC for Biden inauguration, The Hill (Jan.
15, 2021), https://thehill.com/policy/defense/534497-army-up-to-25000-national-guard-in-dc-for-
biden-inauguration.
9 “It Was An Attack On Our Hometown”: How 11 Washingtonians Remember The Insurrection,
DCist.com (Jan. 5, 2022), https://dcist.com/story/22/01/05/dc-locals-jan-6-capitol-insurrection-
anniversary.
10 A full summary of the survey (“Ex. A”) is filed as an exhibit with this motion. The survey compares

responses by potential jurors in the District of Columbia, with potential jurors in three other federal
judicial districts: the Middle District of Florida – Ocala Division, the Eastern District of North
Carolina, and the Eastern District of Virginia.


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Ex. A, Figure 3c and 3d.

        The small jury size and the personal impact of the events distinguishes this

case from Skilling. The Court in Skilling concluded that the size and characteristic

of the community weighed against presumptive prejudice because “more than 4.5

million individuals eligible for jury duty resided” in the Houston area and there was

a “large, diverse pool of potential jurors.” Id. In contrast, the voting age population in

this District is under 550,000 – approximately 12% of that in the Houston area.

Moreover, the population in this District is more homogenous, at least in the way

they voted in the last presidential election. President Biden received more than 92

percent of the vote in the 2020 Election in this District.11 While political leanings, by

themselves, are not reasons to disqualify jurors, this characteristic of the District

certainly heightens the risk of prejudice in a case like this one, where Mr. Holdridge



11General Election 2020: Certified Results, D.C. Bd. of Elections (Dec. 2, 2020),
https://electionresults.dcboe.org/election_results/2020-General-Election.


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is accused of attempting to prevent the certification of President Biden’s electoral

college results. This homogeneity impacts the likelihood that the perceived motives

of those who voted for Mr. Trump will be unfairly ascribed to Mr. Holdridge

individually, and it limits the potential that he will be judged by a diverse group of

his peers.

       United States v. McVeigh is more instructive. There, the court found that the

jurors in the local community could not be fair and impartial because of their personal

connection to the event. 918 F. Supp. 1467 (W.D. Okla. 1996). The defendants were

accused bombing a federal building in Oklahoma City, which resulted in a deadly

explosion. Id. at 1469. The court concluded that there was so great a prejudice against

the defendants in the entire state of Oklahoma that they could not obtain a fair and

impartial trial in the state. Id. at 1474. In reaching this conclusion, the court noted

“[t]he immeasurable effects on the hearts and minds of the people of Oklahoma from

the blast and its consequences,” and considered, among others, Oklahomans’ sense of

loss and grief from a crime that occurred in their own state and their pride of

accomplishment in overcoming a tragedy. Id. at 1470-72. While the people of

Oklahoma were well deserving of their pride, the Court explained that “it is easy for

those feeling pride to develop a prejudice,” and cautioned that “[t]he existence of such

a prejudice is difficult to prove,” and “[i]ndeed it may go unrecognized in those who

are affected by it.” Id. at 1472.

       The same reasoning applies here. In light of the personal impact that the

events of January 6 has had on the D.C. residents, it is hard to imagine that they




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have not developed a prejudice against the defendants charged of being involved in

the January 6 events even if they are not consciously cognizant of the prejudice.

Moreover, it is even harder to imagine that they would not have developed stronger

prejudice in recent days with the primetime broadcasting of House Select Committee

hearings, which have been airing the most violent and graphic portions of the events

of January 6 and have reminded the residents of the District of the impact that

January 6 has had on them and their community.

           In short, both “the size and [the] characteristics of the community” lend strong

support that there is a presumption of prejudice in this District, which would prevent

a fair trial.

      B.      Media coverage of the events of January 6 has been relentless and
              highly graphic, and it has been particularly focused in this District.

           The media coverage of the events of January 6, as well as subsequent

investigations and hearings, have been pervasive and emotionally charged. And

although the news has been broadcast nationally, it has been more persistent and

widespread in this District. The Federal Public Defender-commissioned a survey

comparing the potential jury-eligible population in this District and the Northern

District of Georgia and comparing the media coverage in the two markets.12

According to this analysis, the Washington Post, the dominant newspaper in this

District, ran approximately twice as many stories about January 6 than the Atlanta

Journal-Constitution, the dominant newspaper in Atlanta, between January 2021




12   A full summary of the survey (“Ex. B”) is filed as an exhibit with this motion.


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and January 2022. Ex. B at 9, ¶ 28. This difference in coverage was not limited to

print media. Network television affiliates in this District mentioned January 6 at a

significantly higher rate than those in Atlanta during this same time period. Id. at

10, ¶ 31.

        Juror exposure to news accounts alone does not “presumptively deprive[] the

defendant of due process.” Murphy, 421 U.S. at 799. However, if the news stories

contain “information of the type readers or viewers could not reasonably be expected

to shut from sight,” then presumption of prejudice arises. See Skilling, 561 U.S. at

382. That is exactly what has happened here. For example, on the first day of the

House Select Committee’s primetime hearing, the committee broadcast a

presentation that was carefully and dramatically staged for maximum effect. This

presentation included testimony with graphic details and a dramatic 11-minute video

montage with President Trump’s voice playing over it.13 This is hardly like “the

straightforward, unemotional factual accounts of events and of the progress of official

and unofficial investigations” that the court examined in United States v. Haldeman.

559 F.2d 31, 61 (D.C. Cir. 1976).

        The event has also been compared to once-in-a-lifetime disasters by prominent

politicians. For example, at a one-year anniversary observance:

           [Vice President Kamala] Harris compared the Jan. 6 insurrection to
        two other dates when the United States came under attack: Dec. 7, 1941,
        when the Japanese bombed Pearl Harbor, and Sept. 11, 2001, when



13Mike DeBonis, Jan. 6 committee uses video, testimony to tell tale of the insurrection (Jun. 10, 2022),
https://www.washingtonpost.com/national-security/2022/06/09/jan-6-committee-uses-video-
testimony-tell-tale-insurrection/.


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           terrorists turned commercial airplanes into missiles and attacked the
           World Trade Center and the Pentagon.

              “Certain dates echo throughout history, including dates that
           instantly remind all who have lived through them where they were and
           what they were doing when our democracy came under assault,” Harris
           said. “Dates that occupy not only a place on our calendars but a place in
           our collective memory.”14

Such press coverage “likely imprinted indelibly in the mind of anyone who watched

it,” resulting in a prejudgment of Mr. Holdridge’s case. Skilling, 561 U.S. at 382.

           Prejudicial views about the intentions of January 6 defendants are not confined

to D.C., but they are significantly more negative here. According to the survey

commissioned by the Federal Public Defender, 63 percent of national respondents

and 68 percent of Atlanta division respondents said they would describe the actions

of “people who forced their way into the U.S. Capitol on January 6, 2021,” with the

phrase “Trying to overturn the election and keep Donald Trump in Power.”15 Far

more D.C. residents—85 percent—said the same.16

           Moreover, the majority of D.C. residents have prejudged the guilt of January

6 defendants who have been criminally charged, like Mr. Holdridge. Residents of both

this District and the Northern District of Georgia were asked for their “Opinion of

whether people arrested for Jan 6 activities are guilty or not guilty of the charges




14Annie Linskey, Biden goes after Trump for lies and self-aggrandizement in Jan. 6 insurrection
anniversary speech, WashingtonPost.com (Jan. 6, 2022),
https://www.washingtonpost.com/politics/biden-goes-after-trump-for-lies-and-self-aggrandizement-
in-jan-6-insurrection-anniversary-speech/2022/01/06/fdb39c14-6eff-11ec-aaa8-
35d1865a6977_story.html.
15   Ex. B at 4–5.
16   Id.


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brought against them.”17 Among Georgia respondents, 54 percent answered “Guilty,”

10 percent said “Not guilty,” and the remaining 36 percent volunteered a response

recorded as either “Depends” or “Don’t know/refused.”18 Respondents in this District,

however, were much more convinced of defendants’ guilt and much less ambivalent

in their answers: 71 percent said “Guilty”; just 3 percent said “Not guilty”; 16 percent

volunteered a response recorded as “Depends”; and 10 percent volunteered a “Don’t

know/refused” response.19

           This result was replicated in another survey comparing the residents of this

District to those in three other districts: Middle District of Florida—Ocala Division,

Eastern District of North Carolina, and Eastern District of Virginia. This survey also

revealed that D.C. residents displayed significantly higher bias and prejudgment

against January 6 defendants. When asked whether the respondent is more likely to

find a defendant charged with crimes for January events guilty or not guilty, over

70% of D.C. residents said guilty, whereas only 37-48% residents from the other three

districts said they would similarly find guilty. It is particularly telling that over 70%

of the D.C. residents responded “guilty,” even though they were given an option to

state “too early to decide”:




17   Id. at 7.
18Id. The only answers the question provided were “Guilty” and “Not guilty.” Among the 36 percent
who volunteered a different answer, 19 percent gave a “Depends” response, and the other 17 percent,
a “Don’t know/refused” response. Id.
19   Id.


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Ex. A, Figure 1a.

      In short, this is a case in which “a pattern of bitter prejudice throughout the

community . . . render[s] the voir dire an unsatisfactory device for selection of an

impartial jury.” United States v. Ehrlichman, 546 F.2d 910, 916 n.8 (D.C. Cir. 1976).

The jury pool in this District, especially, will comprise “readers or viewers [who] could

not reasonably be expected to shut from sight” what they have read and seen.

Skilling, 561 U.S. at 382. In those circumstances, prejudice should be presumed; in

fact, prejudice is plainly apparent in the survey responses of the large majority of

D.C. residents who already have decided that defendants with charges like Mr.

Holdridge’s are guilty.




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     C.      In light of the persistent media coverage and investigations into
             the events of January 6, 2021, the passage of time has not weakened
             presumed prejudice.

          In Skilling, the Supreme Court noted that the argument for presumed

prejudice was weakened by the passage of time: “[O]ver four years elapsed between

Enron’s bankruptcy and Skilling’s trial. Although reporters covered Enron-related

news throughout this period, the decibel level of media attention diminished

somewhat in the years following Enron’s collapse.” 561 U.S. at 383. Skilling does not

provide a useful analogy. Although a year and a half has passed, the reckoning over

January 6 continues to generate front-page news. In fact, media coverage has

increased in recent days with the public hearings held by the House Select

Committee, and it will likely continue to do so. Furthermore, entertainment media

has produced new content, including documentaries by several major media

companies.20 At the same time, criminal prosecutions are progressing in the public

eye, receiving widespread coverage. In short, the passage of time has not weakened

the prejudice that Mr. Holdridge faces in this case.

          For all the reasons discussed above, “voir dire [would be] an unsatisfactory

device for selection of an impartial jury.” Ehrlichman, 546 F.2d at 916 n.8. And since

a presumption of prejudice is warranted here, this proceeding must be transferred to

another district to comply with Rule 21 and the Fifth and Sixth Amendments’

guarantees of due process and a fair trial by an impartial jury.


20See, e.g., Four Hours at the Capitol (HBO 2021), https://www.hbo.com/documentaries/four-hours-
at-the-capitol; 24 Hours: Assault on the Capitol (ABC News 2021), https://www.hulu.com/series/24-
hours-assault-on-the-capitol; Day of Rage (N.Y. Times 2021), https://www.nytimes.com/video/us
/politics/100000007606996/capitol-riot-trump-supporters.html.


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III.   If the Court were to deny a transfer of venue, then expanded
       examination of prospective jurors before and during formal voir dire
       would be crucial to mitigate actual prejudice.

       If the Court concludes that prejudice should not be presumed or cannot yet

determine whether it should be, then the parties’ opportunity for expanded

examination of prospective jurors is absolutely essential for a fair trial. See

Haldeman, 559 F.2d at 63 (“[I]f an impartial jury actually cannot be selected, that

fact should become evident at the voir dire.”). For instance, although the Supreme

Court did not find presumed prejudice in Skilling, it acknowledged that “the

widespread community impact necessitated careful identification and inspection of

prospective jurors’ connections to Enron,” and noted approvingly that the district

court’s “extensive screening questionnaire and follow-up voir dire were well suited to

that task.” 561 U.S. at 384.

       Views prejudicial to Mr. Holdridge’s defense are so widespread in this District’s

jury pool that empaneling a sufficiently impartial jury might not be possible. But if it

is possible, such a jury could be identified only through expanded examination that

allows the parties a thorough opportunity to explore individual prejudices. To

accomplish that, Mr. Holdridge would ask the Court to permit the three devices

described in the introduction to this motion: (1) a questionnaire to be sent, after

review and approval by the Court, to summoned prospective jurors; (2) the right for

the parties to be present during any pre-screening questioning the Court conducts

before formal voir dire; and (3) individual questioning during voir dire by the parties

as well as the court. The facts that show why these measures are necessary are the




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same facts relied upon in Part II of this motion. Those facts—relating to the District’s

characteristics, pretrial media coverage, and the undissipated immediacy of January

6, 2021—demonstrate an undeniable and intolerable risk that actual prejudice would

prevent a fair trial, regardless of whether the Court concludes that the facts establish

presumed prejudice.

IV.     Conclusion

        For the foregoing reasons, Mr. Holdridge respectfully moves the Court to

transfer these proceedings to another district or, in the alternative, to allow expanded

questioning of prospective jurors as set out above.




      Dated:   June 13, 2022                    Respectfully submitted,

                                                JODI LINKER
                                                Federal Public Defender
                                                Northern District of California

                                                         /S
                                                WHAYEUN (CHLOE) KIM
                                                GABRIELA BISCHOF
                                                Assistant Federal Public Defenders




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